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                              UNITED STATES DISTRICT COURT
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10                           CENTRAL DISTRICT OF CALIFORNIA
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     BERNARD LAX an individual d/b/a KIN,       Case No.: CV 19-4875-DMG (JCx)
12
                                                ORDER RE DISMISSAL OF ACTION
13              Plaintiff,                      WITH PREJUDICE [43]
14              vs.
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     KIN SOCIAL TONICS, INC., a Delaware
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     corporation, and DOES 1-10, Inclusive,
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18              Defendants.

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 1         The Court, having reviewed the parties’ Joint Stipulation For Order Of Dismissal
 2   With Prejudice, and for good cause shown,
 3         IT IS HEREBY ORDERED that:
 4         1. The above-captioned action, including all claims asserted therein, is hereby
 5   DISMISSED WITH PREJUDICE in its entirety;
 6         2. The Court shall retain jurisdiction to enforce the parties’ Settlement Agreement;
 7   and
 8         3. All scheduled dates and deadlines are VACATED.
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10   DATED: October 15, 2020                      ________________________________
11                                                DOLLY M. GEE
                                                  UNITED STATES DISTRICT JUDGE
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